            Exhibit 9




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                                   Entering Class of Fall 2016

   Goals

      .    Increase market-share among key priority demographics that strengthen diversity:

               o American Indian, African American, and Hispanic/Latino

               o    First Generation College

               o   Low Socio-economic status

      •    Increase representation within the entering class of Fall 2016 by:

               o   Increase applications of prospective students from each of these demographics by 5%

               o   Increase yield of accepted students from each of these demographics by 2%

      •    Integrate approaches throughout all recruitment initiatives (beyond those specifically in this
           plan) that consistently engage, encourage, and foster the academic and personal success of
           diverse populations



  Guiding Principles

      •    Act in the best interests of students, as well as in the best interests of the institution

      •    Represent Carolina authentically and honestly

      •    Assume that any direct contact (event/visit, walk-in, college fair, phone call) is the one and only
           time that we will be in front of the student and family

      •    Consider the full recruitment lifecycle and determine the ideal timing and mix of initiatives

      •    View recruitment as "retention in advance" and develop strategies to educate and set students
           up for success once enrolled




  Key Plan Components

  Prospect Pool

      •    Expand pool by purchasing additional names from College Board and ACT, lowering the score
           threshold from prior years to increase the diversity of the prospect pool. Deploy in August 2015.

      •    Include all prospects, without regard to test score band, in key recruitment mailings including
           drive-to-apply and event invitations. Deploy throughout fall 2015.



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Office of Undergraduate Admissions




Admissions Staff

   •   Strengthen diversity of the admissions office staff by hiring nine new full-time staff members
        who collectively represent diverse populations. Hiring occurred in summer 2015, and includes
       staff who identify as African-American or Hispanic/Latino, were first generation and/or low
       socio-economic college students themselves, and who previously worked within the Carolina
       Advising Corps or on major diversity initiatives with their previous employers.

   •    Develop and appoint a new leadership position dedicated to diversity outreach and
       engagement. Appointment occurred in summer 2015,

   •    Provide mandatory suite of diversity training for admissions staff members and develop
       appropriate assessments and follow-ups to support staff members as they work with all student
        populations. Deploy beginning in August 2015 and continue on an on-going basis.

   •   Develop a clear recruitment plan to diversify the Student Ambassador Program. Deploy
       beginning in fall 2015.

   •   Strengthen collaboration with Diversity and Multicultural Affairs office by establishing official
       channels of coordination and set meetings between office leadership to coordinate recruitment
       efforts geared at diverse populations. Deploy beginning in August 2015 and continue on an on-
       going basis.

   •   Develop new partnerships with key constituencies including Men of Color campus organization
       and under-represented alumni to include these groups in developing new recruitment
       initiatives. Deploy in fall 2015 and continue through spring.



Communication Plan

   •   Develop key messages to focus recruitment efforts on enrolling a talented and diverse
       undergraduate class. These message topics will focus on academic excellence, community, and
       affordability. Create and implement in summer/early fall 2015.

   •   Develop a new print material to highlight the importance of college for traditionally
       underrepresented audiences. While the focus is on college access in general, include a strong
       drive-to-apply for UNC (and highlight the benefits and opportunities at the university). Deploy
       in October 2015.

   •   Develop a follow-up campaign for students who have previously attended diversity recruitment
       events run by Admissions or Diversity and Multicultural Affairs. Assign a specific recruiter to
       assist these students through the college search process. Deploy in October 2015.




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         deadline in January. Deploy in November 2015.

   •     Develop a new drive-to-apply campaign highlighting UNC's key messages and targeting the
         priority populations above. Ideally, this campaign will be print materials. Deploy throughout fall
         2015.

   •     Develop an enhanced plan to educate students on the importance of affordability in the college
         selection process and on UNC's commitment to need-based aid. Include a strong drive-to-
         submit the FAFSA and CSS Profile by the deadline to ensure students are considered for the
         maximum amount of need-based aid they could receive.. Deploy beginning in October 2015 and
         continue through the spring.

   •     Assign recruiters to call designated students (all accepted students within these populations)
         within one week of acceptance to congratulate them. Also highlight and explain any other
         offers that a student has received or is being considered for including merit scholarships and
         Excel offers. Deploy in late January 2016 (Early Action) and late March 2016 (Regular Decision).

   •     Collaborate with current student groups from similar demographics to organize call campaigns
         and allow current students to share their, experiences with accepted students. Deploy February
         through April 2016.

   •     Develop a letter to send to parents/guardians articulating "why Carolina" for their students,
         with a focused emphasis on student success and outcomes. If appropriate, develop different
         versions for targeted populations (particularly first generation college students). Deploy in
         March and April 2016.

   •     Increase publicity/awareness of the Travel Grant Program by including this in relevant yield
         communications and in communications to enrollment partners such as college counselors and
         teachers. Deploy in January 2016.



Events

   •     Change event timing for accepted student events to ensure greatest access for diverse
         populations, by combining Carolina Firsts, Explore, and Scholarship Dinner on the same
         weekend so that students can participate in all of them and eliminate the burden of traveling to
         campus multiple times. Deploy in February through April 2016.

   •     Refocus programming at both prospective and accepted student events to consistently provide
         key information about UNC in an accessible manner to all audiences. Deploy beginning in fall
         2015 and continue through the spring.




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         Provide staffing assistance and support as needed to Diversity and Multicultural Affairs for their
         recruitment events, and collaborate with them to maximize opportunities to visit campus for
         diverse populations. Deploy beginning in August 2015 and continue on an on-going basis.



Scholarships and Excel Opportunities

    •    Enhance representation of diverse populations by changing selection process for these
         additional opportunities by lessening implicit bias (through interviews) and by better accounting
         for advantages/disadvantages based on where students attend school (auto-marking top 4% of
         students from NC high schools for Excel). Deploy in fall 2015 and continue through spring.

    •    Increase the number of renewable, 4-year scholarships offered to students through additional
         trademark-licensing revenue. Deploy in January and March 2016.



Travel Initiatives

    •   Strengthen relationships with feeder high schools whose applicants historically have
        represented diverse populations by focusing travel by recruitment staff at these schools. Deploy
        throughout fall 2015.

    •   Support key community partners working with diverse populations by prioritizing attendance at
        their college access events by recruitment staff, particularly at North Carolina-based events.
        Deploy throughout fall 2015.




Progress Thus Far (as of December 1, 2015)

    •   With approximately 50% of our anticipated applications for Fall 2016 received:

             o American Indian—increased by 16.7%

             o African American    -    19.4%

             o   Hispanic/Latino   -   26.1%

            o    First Generation College      -   14.5%

            o    Low Socio-economic status         -   29.7%

    •   We anticipate yield will also increase due to our planned initiatives, and by pushing these
        audiences to apply via the early deadline, providing us more time to cultivate accepted students.




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